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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                          ABERDEEN DIVISION


T. KEITH HOLLIS, PH.D.,
DENNIS W. SMITH, JR. PH.D.
TIMOTHY BODEN,
and
MARK MURPHY

      Plaintiffs,
                                                                         1:21cv163-GHD-RP
vs.                                                    Civil Action No. _______________

JOSEPH R. BIDEN, JR.,
in his official capacity as
President of the United States of
America;

BOARD OF TRUSTEES OF THE STATE
INSTITUTIONS OF HIGHER LEARNING

MISSISSIPPI STATE UNIVERSITY
and
JOHN DOES 1 - 10      `

      Defendants.


                    COMPLAINT FOR DECLARATORY JUDGMENT
                           AND INJUNCTIVE RELIEF


      COMES NOW, the PLAINTIFFS, T. KEITH HOLLIS, PH.D., DENNIS W.

SMITH, JR, PH.D., TIMOTHY BODEN, and MARK MURPHY, by and through the

undersigned counsel, and as and for their Complaint, states as follows, to wit:




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                                         INTRODUCTION

                          “No — I don't think it [the COVID-19 vaccine]
                          should be mandatory. I wouldn't demand it to
                                         be mandatory.”

                                 President-Elect Joseph Biden, Jr.
                                        December 4, 2020

          1.   Notwithstanding his promise to the American people on December 4, 2020,

that he would not make vaccines mandatory, President Joseph Biden announced on

September 9, 2021, that vaccines would become mandatory for all Federal contractors

and their employees. That day, the President also enacted Executive Order 14042, which

requires Federal contractors to “comply with all guidance for contractor or subcontractor

workplace locations published by the Safer Federal Workforce Task Force ….” (E.O.

14042, at § 2.)

          2.   In defiance of this unconstitutional executive mandate, the Board of Trustees

of the State Institutions of Higher Learning (“IHL”) enacted guidance for the workforce

at Mississippi State University (“MSU”) and other schools on September 17, 2021,

declaring that no employee of any state-sponsored institution of higher learning

(including MSU) would have to be vaccinated against COVID-19.

          3.   On September 24, 2021, the Safer Federal Workplace Task Force (“Task

Force”) enacted the COVID-19 Workplace Safety: Guidance for Federal Contractors and

Subcontractors (“Task Force Guidance”) 1 pursuant to Executive Order 14042. The Task

Force Guidance mandates:

                 Pursuant to this Guidance, and in addition to any
                 requirements or workplace safety protocols that are
                 applicable because a contractor or subcontractor employee is


1   See Exhibit 1, incorporated herein by reference and made a part hereto.

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             present at a Federal workplace, Federal contractors and
             subcontractors with a covered contract will be required to
             conform to the following workplace safety protocols:

               1. COVID-19 vaccination of covered contractor
                  employees, except in limited circumstances where an
                  employee is legally entitled to an accommodation;

               2. Compliance by individuals, including covered
                  contractor employees and visitors, with the Guidance
                  related to masking and physical distancing while in
                  covered contractor workplaces; and

               3. Designation by covered contractors of a person or
                  persons to coordinate COVID-19 workplace safety
                  efforts at covered contractor workplaces.

(Task Force Guidance, at p. 1.) When read in conjunction with Executive Order 14042,

the Task Force Guidance mandates that all Federal contractors and their employees be

vaccinated “except in limited circumstances.” (Id.)

      4.   MSU is a well-respected research institution.      According to its website,

“MSU’s research expenditures totaled nearly $241 million in FY 2017, accounting for

more than half of the total in research and development expenditures reported by all

Mississippi institutions.”   https://www.msstate.edu/research (retrieved October 26,

2021). Much of this research is through Federal contracts with the Department of

Agriculture and other agencies of the Federal government. Therefore, MSU falls under

the collective rubric of the Task Force Guidance and Executive Order 14042 in that it is

a Federal contractor.

      5.   On October 25, 2021, the IHL changed its position to comply with Executive

Order 14042. Fearing that schools like MSU would lose its Federal contracts, and

thereby see its research potential devastated, the IHL implemented new guidance,

stating that all employees at state institutions of higher learning, such as MSU, must be

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fully vaccinated by December 8, 2021, or face immediate termination. However, the IHL

ruled that its position on vaccines would revert to its September 17, 2021, guidance if

Executive Order 14042 is repealed or declared to be unconstitutional. Therefore, the IHL

has made it crystal clear: the October 25, 2021, order is not the product of any official

policy of the State of Mississippi; rather, it is simply in place to comply with President

Biden’s unconstitutional vaccine mandate.

      6.    Plaintiffs are employees of MSU who refuse to be vaccinated. Each of these

gentlemen have had COVID-19 and believe that their natural immunity far surpasses

the vaccines that are currently available. Moreover, because none of these vaccines have

undergone long-term (five-years or more) testing, the Plaintiffs are concerned that the

long-term ramifications of taking any of the vaccines may outweigh any marginal benefit

that they would receive, especially since they have already beaten the virus.

      7.    Although the Plaintiffs will address how natural immunity is superior to the

pseudo-immunity offered by the vaccines presently on the market, they are especially

concerned by the President’s attempt to usurp the authority of the Congress, the States,

and the people, by and through (1) his violation of the Separation of Powers Doctrine, (2)

his decision to delegate executive authority to an agency not created by Congress, and (3)

his usurpation of the Fourth, Fifth, Ninth, and Tenth Amendments to the United States

Constitution.

      8.    On October 26, 2021, MSU officials addressed its employees about the recent

IHL order. At this meeting, they announced their intention to comply with the IHL order

by terminating employees who are not fully vaccinated by December 8, 2021. Thus, MSU,

being clothed with the duty of complying with the IHL order – which, in turn, is wholly



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predicated upon Executive Order 14042 – has threatened and is about to commence the

unlawful proceeding of enforcing said order. Cf. Okpalobi v. Foster, 244 F.3d 405, 416

(5th Cir. 2001) (describing how Eleventh Amendment sovereign immunity does not apply

when the named State officials “have some connection with the enforcement of the act

and threaten and are about to commence proceedings to enforce the unconstitutional

act.”) (Internal quotations omitted.)

       9.    Therefore, the Plaintiffs seek a declaration from this Court pursuant to the

Declaratory Judgments Act (28 U.S.C. §§ 2201–2202) and Ex Parte Young, 209 U.S. 123,

28 S. Ct. 441 (1908) that Executive Order 14042, the Task Force Guidance, and the IHL’s

October 25, 2021, order are unconstitutional.

       10.   Plaintiffs further seek to enjoin President Biden from enforcing Executive

Order 14042 and the Task Force Guidance. The Plaintiffs also seek to enjoin IHL and

MSU from enforcing the IHL’s October 25, 2021, order – and by extension – Executive

Order 14042 and the Task Force Guidance.

                      PARTIES, JURSIDICTION, AND VENUE

       11.   The preceding paragraphs are incorporated herein by reference.

       12.   Plaintiffs are adult resident citizens of Oktibbeha County, Mississippi, except

that Mark Murphy is from Clay County, Mississippi. Each Plaintiff is employed by MSU

in various capacities. Plaintiffs have not taken the COVID-19 vaccine.

       13.   T. Keith Hollis, Ph.D. (“Dr. Hollis”) is a full professor in the Chemistry

Department. He was a National Institutes of Health doctoral fellow from 1995 to 1998

in synthetic organic chemistry and medicinal chemistry. His curriculum vitae is attached

hereto as Exhibit 2. Dr. Hollis explains the scientific basis for concluding that vaccine


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efficacy is overstated in Exhibit 3. He has tenure at MSU. Dr. Hollis has recently been

diagnosed with a cardiac condition. Unfortunately, he is not able to see a cardiologist

until December of this year, making it problematic for him to get a timely medical

exception to this vaccine mandate. Therefore, Dr. Hollis faces the Hobson’s choice of

having to choose between his health and his vested property right in his career.

        14.   Dennis Smith, Ph.D. (“Dr. Smith”) is a full professor and head of the

Chemistry Department. He has tenure at MSU. He is a current fellow of the American

Chemical Society and the International Union of Pure and Applied Chemistry. His

curriculum vitae is attached hereto as Exhibit 4.

        15.   Timothy Boden (“Mr. Boden”) is a part-time lab director in the Chemistry

Department. Mr. Boden has a cardiac condition.

        16.   Mark Murphy (“Mr. Murphy”) is a research associate in the Forestry

Department. He works on Federal contracts with MSU.

        17.   Thus, the Plaintiffs are, themselves, men of science and technology who can

assess the risks and rewards of vaccination without the intrusive intervention of D.C.

bureaucrats. Each Plaintiff has already had COVID-19. 2 In turn, each Plaintiff is

believed to have antibodies in their respective systems, thereby making the addition of

an mRNA vaccine 3 unnecessary. Furthermore, each Plaintiff has a vested property right

(i.e., their continued employment) and a vested liberty right (i.e., freedom from being




2Dr. Hollis and Messrs. Boden and Murphy received diagnoses for COVID-19. Dr. Smith did not;
however, he believes that he did have the virus as he exhibited the typical symptoms.

3Incidentally, the Plaintiffs do not believe that the so-called vaccines are true vaccines. Instead, they
are therapeutics. However, to comply with common parlance, they will be referred to as “vaccines.”

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injected with an unnecessary vaccine) that the Defendants will take from them without

due process of law unless this Honorable Court intervenes.

         18.   Joseph R. Biden, Jr., is the President of the United States of America. He is

sued in his official capacity.

         19.   The Board of Trustees of the State Institutions of Higher Learning (“IHL”) is

an agency of the State of Mississippi charged with the responsibility of managing the

State’s institutions of higher learning.

         20.   Mississippi State University (“MSU”) is a state-sponsored institution of

higher learning. MSU has directed all its employees to comply with the October 25, 2021,

IHL order – and by extension – Executive Order 14042 and the Task Force Guidance on

pains of termination. MSU is located in Oktibbeha County, Mississippi.

         21.   Jurisdiction is proper under Article III, Section 2 of the United States

Constitution since the President of the United States is a named Defendant. Moreover,

jurisdiction is appropriate under 28 U.S.C. §§ 1331 and 1343 because Plaintiffs seek

redress for the deprivation of rights secured by the U.S. Constitution.          Similarly,

Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28 U.S.C. §§

2201–2202, by Fed. R. Civ. P. 57 and 65, and by the legal and equitable powers of this

Court.

         22.   Eleventh Amendment sovereign immunity is abrogated pursuant to Ex Parte

Young, supra, since the Plaintiffs seek to prevent unconstitutional orders from being

enforced by authorized persons who have expressed their intentions to enforce said

orders.




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       23.   Venue is proper in the Northern District of Mississippi pursuant to 28 U.S.C.

§ 1391(e)(1) since an officer of the United States (i.e., President Biden) is being sued and

at least one Defendant resides in this District.

                              FACTUAL ALLEGATIONS

       24.   The preceding paragraphs are incorporated herein by reference.

       25.   On January 20, 2021, President Biden signed Executive Order 13991.

Therein, the President establishes the aforesaid Task Force pursuant to the 5 U.S.C. §

7902 (c), which reads:

              The President may--

              (1) establish by Executive order a safety council composed of
              representatives of the agencies and of labor organizations
              representing employees to serve as an advisory body to the
              Secretary in furtherance of the safety program carried out by
              the Secretary under subsection (b) of this section; and

              (2) undertake such other measures as he considers proper to
              prevent injuries and accidents to employees of the agencies.

       26.   The express language of § 7902 (c) limits the authority of any safety council

to “serve as an advisory body to the Secretary [of Labor].” Id; cf. § 7902 (b) (identifying

“Secretary” as the Secretary of Labor). Moreover, the advice such a safety council must

be in “furtherance of the safety program carried out by the Secretary under subsection

(b) of this section.” § 7902 (c). Subsection (b) of § 7902 mandates that the Secretary

“carry out a safety program under section 941(b)(1) of title 33 covering the employment

of each employee of an agency.” Thus, the sole statutory purpose of any safety council

established pursuant to § 7902 (c) is to advise the Secretary of Labor as to how he may

carry out a safety program for “the employment of each employee of an agency.” § 7902

(b).

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       27.   By its express terms, 33 U.S.C. § 941 deals only with the safety rules and

regulations for longshoremen and harbor workers. This is because § 941 is found in

Chapter 18 of Title 33 (which is entitled “Longshore and Harbor Workers’

Compensation”).     Since MSU’s campus in landlocked Starkville, Mississippi is far

removed from any coastline that would employ longshoremen, § 941 could hardly have

any bearing upon any work that is performed at MSU.

       28.   Nevertheless, even if one could glean from the statutory construction of §

7902 (c) that a safety council should assist the Secretary of Labor in applying § 941(b)(1)

to the rest of the Federal workforce, § 941(b)(1) only authorizes the Secretary to “to make

studies and investigations with respect to safety provisions and the causes and

prevention of injuries in employments covered by this chapter” and “to cooperate with

any agency of the United States or with any State agency engaged in similar work.” It

does not authorize the safety council to create guidance in the way Federal contracts or

contract-like instruments are procured.

       29.   In short, a safety council established pursuant to § 7902 (c) – such as the

Task Force established by President Biden – is authorized to advise the Secretary of

Labor concerning the safety of Federal employees – not Federal contractors.          Cf. §

941(b)(1).   Therefore, the Task Force has no statutory authority to create safety

guidelines for Federal contractors, let alone to issue vaccination requirements. Thus,

President Biden exceeded his statutory authority when he created the Task Force in

Executive Order 13991 and again when he ordered Federal departments and agencies to

incorporate the Task Force Guidance into contracts or contract-like instruments with

Federal contractors in Executive Order 14042.



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       30.   Furthermore, Executive Order 14042 exceeds the President’s authority

under the Federal Property and Administrative Services Act (40 U.S.C. §§ 101, et seq.)

(“FPASA”). Although the President is authorized to “prescribe policies and directives

that the President considers necessary to carry out this subtitle,” § 121 (a), “[t]he policies

must be consistent with this subtitle.” Id. Plaintiffs contend that Executive Order 14042

is inconsistent with FPASA and is void as a matter of law.

       31.   The purpose of the FPASA is to provide the Federal Government with “an

economical and efficient system” for the following activities:

              (1) Procuring and supplying property and nonpersonal
                  services, and performing related functions including
                  contracting,    inspection,    storage,  issue,     setting
                  specifications,    identification    and    classification,
                  transportation and traffic management, establishment of
                  pools or systems for transportation of Government
                  personnel and property by motor vehicle within specific
                  areas, management of public utility services, repairing
                  and converting, establishment of inventory levels,
                  establishment of forms and procedures, and
                  representation before Federal and state regulatory
                  bodies.
              (2) Using available property.
              (3) Disposing of surplus property.
              (4) Records management.

(40 U.S.C. § 101.) Although Executive Order 14042 states that the safeguards imposed

thereby “… will decrease the spread of COVID–19, which will decrease worker absence,

reduce labor costs, and improve the efficiency of contractors and subcontractors at sites

where they are performing work for the Federal Government,” EO 14042, at § 2, the

President is categorically wrong. Thus, the Plaintiffs allege, and will prove at trial, that

Executive Order 14042 is neither economical nor efficient, and as such, that it exceeds

the statutory authority vested in the President.

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      32.   As of today, 205,482,061 citizens eighteen years of age or older have taken at

least one dose of the COVID-19 vaccine; this represents 79.6 percent of the U.S. adult

population. See https://covid.cdc.gov/covid-data-tracker/#vaccinations vacc-total-admin-

rate-total (retrieved October 26, 2021).     Likewise, as of today, 178,227,720 citizens

eighteen years of age and older are fully vaccinated; this represents 69 percent of the

U.S. adult population. See id.

      33.   From these statistics, we may deduce that the U.S. adult population is

approximately 258,200,000 (although this figure is not precise). Thus, 178,227,720 adult

citizens have had two doses, 27,254,341 have had only one dose, and approximately

52,700,000 have had no vaccine at all.

      34.   Notwithstanding these high vaccination rates, there have been 45,468,434

reported cases of COVID-19 in the United States. See id. Of these reported cases,

736,048 people have died. See id. Thus, the present death rate for COVID-19 is 1.62

percent.

      35.   So, by reverse implication, if a Federal contractor falls ill with the virus, there

is a 98.38 percent chance that he/she will survive and return to work, with all other

things being equal. However, if a Federal contractor is fired for not taking the vaccine,

there is a zero percent chance that he/she will return to work.

      36.   The United States is currently experiencing a labor shortage, the likes of

which we have not seen in decades. Therefore, the probability that a Federal contractor

will be replaced quickly after being terminated is presumably less than what it would

have been in recent years.        Thus, Federal contractors and subcontractors are a




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commodity; they do not need to be terminated when the demand for labor is already

prodigious.

       37.    Firing someone for not taking the vaccine would pose a greater risk of

disrupting the Federal procurement system than if he or she were to remain employed,

get sick with COVID-19, and miss a few weeks of work.         Plaintiffs intend to present

expert testimony at trial to support this assertion. Therefore, the President’s directive

in Executive Order 14042 is inconsistent with FPASA in that it necessarily will disrupt

Federal procurement, instead of making it more economical or efficient. Cf. § 101.

       38.    The President has created a Task Force in violation of the stated purpose of

the statute upon which he bases his authority. The Task Force, in turn, has promulgated

guidelines for which it has no statutory authority. Moreover, the President’s decision to

use his authority under FPASA to impose these guidelines upon Federal contractors and

subcontractors actually undermines the purposes of FPASA. Therefore, the President

has neither constitutional nor statutory authority to enact Executive Order 14042.

       39.    Executive Order 14042 violates the Separation of Powers doctrine because it

attempts to legislate instead of enforcing existing laws passed by Congress.

       40.    Executive Order 14042 violates the Fourth Amendment in that it operates as

a seizure, by requiring Plaintiffs to inject a substance into his or her body against their

wills, on pains of losing their jobs.

       41.    Executive Order 14042 violates the Due Process Clause of the Fifth

Amendment because it operates to take liberty and/or property from the Plaintiffs by

requiring that they take the COVID-19 vaccine against their will or lose their jobs

without due process of law.



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      42.   Executive Order 14042 violates the Ninth Amendment because it usurps

upon rights of the Plaintiffs that are not enumerated in the Constitution.

      43.   Executive Order 14042 violates the Tenth Amendment because it exceeds the

authority of the Federal government, usurping upon the rights of the States and the

people to make decisions relating to personal health and safety.

      44.   Therefore, Executive Order 14042 is an unconstitutional attempt by the

Executive to usurp the powers of the Congress (under the Separation of Powers doctrine),

the States (under the Tenth Amendment), and the people (under the Fourth, Fifth, and

Ninth Amendments).

                                CAUSES OF ACTION
                          Count I -- Declaratory Judgment

      45.   The preceding paragraphs are incorporated herein by reference.

      46.   Plaintiffs seek entry of an order pursuant to 28 U.S.C. §§ 2201–2202

declaring that Executive Order 14042 is unconstitutional.

      47.   Furthermore, Plaintiffs seek entry of an order pursuant to 28 U.S.C. §§ 2201–

2202 declaring the IHL order of October 25, 2021, is unconstitutional.

                             Count II -- Injunctive Relief

      48.   The preceding paragraphs are incorporated herein by reference.

      49.   Plaintiffs seek a preliminary injunction and permanent injunction from the

Court. To this end, Plaintiffs seek to enjoin the Defendants from enforcing Executive

Order 14042 or any other directive that is based upon Executive Order 14042, including,

but not limited to, the IHL’s October 25, 2021, order.




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       50.   Plaintiffs’ harm cannot be alleviated except by injunctive relief. In fact, if

injunctive relief is not granted, Plaintiffs will have their liberty and property taken from

them by the Federal government and/or the State of Mississippi without due process of

law in less than seven weeks.

       51.   No other remedy is available at law.

                                REQUEST FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs requests that this Court:

       a.    Issue a judgment, pursuant to 28 U.S.C. §§ 2201–2202, declaring that the

Safer Federal Workforce Task Force lacks the requisite statutory authority pursuant to

5 U.S.C. § 7902 and 33 U.S.C. § 941 to promulgate guidelines concerning vaccines to

Federal contractors.

       b.    Issue a judgment, pursuant to 28 U.S.C. §§ 2201–2202, declaring that

Executive Order 14042 is inconsistent with the Federal Property and Administrative

Services Act (40 U.S.C. §§ 101, et seq.)

       c.    Issue a judgment, pursuant to 28 U.S.C. §§ 2201–2202, declaring that

Executive Order 14042 lacks requisite antecedent constitutional or statutory basis,

thereby violating the Separation of Powers doctrine, and issue a preliminary and

permanent injunction restraining the Defendants from enforcing Executive Order 14042

or any other directive that is based upon Executive Order 14042, including, but not

limited to, the IHL’s October 25, 2021, order.

       d.    Issue a judgment, pursuant to 28 U.S.C. §§ 2201–2202, declaring that

Executive Order 14042 is an unlawful seizure, thereby violating the Fourth Amendment,

and issue a preliminary and permanent injunction restraining the Defendants from


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enforcing Executive Order 14042 or any other directive that is based upon Executive

Order 14042, including, but not limited to, the IHL’s October 25, 2021, order.

      e.    Issue a judgment, pursuant to 28 U.S.C. §§ 2201–2202, declaring that

Executive Order 14042 attempts to take the Plaintiffs’ liberty and/or property without

due process of law, thereby violating the Fifth Amendment, and issue a preliminary and

permanent injunction restraining the Defendants from enforcing Executive Order 14042

or any other directive that is based upon Executive Order 14042, including, but not

limited to, the IHL’s October 25, 2021, order.

      f.    Issue a judgment, pursuant to 28 U.S.C. §§ 2201–2202, declaring that

Executive Order 14042 infringes upon the unenumerated rights of the Plaintiffs, thereby

violating the Ninth Amendment, and issue a preliminary and permanent injunction

restraining the Defendants from enforcing Executive Order 14042 or any other directive

that is based upon Executive Order 14042, including, but not limited to, the IHL’s

October 25, 2021, order.

      g.    Issue a judgment, pursuant to 28 U.S.C. §§ 2201–2202, declaring that

Executive Order 14042 exceeds the power of the Federal government as enumerated by

the Constitution, infringing upon the rights reserved to the States and the people,

thereby violating the Tenth Amendment, and issue a preliminary and permanent

injunction restraining the Defendants from enforcing Executive Order 14042 or any other

directive that is based upon Executive Order 14042, including, but not limited to, the

IHL’s October 25, 2021, order.

      h.    IN THE ALTERNATIVE, issue a judgment, pursuant to 28 U.S.C. §§ 2201–

2202, declaring that proof of natural immunity is a superior to vaccination, and as such,



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and issue a preliminary and permanent injunction requiring the Defendants to treat

proof of natural immunity as a medical exception to any vaccine mandate required by

Executive Order 14042 or any other directive that is based upon Executive Order 14042,

including, but not limited to, the IHL’s October 25, 2021, order.

      i.    Grant such other relief as the Court finds just and proper.

      Respectfully submitted on this the 27th day of October, 2021,

                                                T. KEITH HOLLIS, PH.D.,
                                                DENNIS SMITH, PH.D.
                                                TIMOTHY BODEN,
                                                and
                                                MARK MURPHY

                                                 /s/ Matthew D. Wilson
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